Case 4:88-cv-04082-SOH Document 217                Filed 04/26/23 Page 1 of 5 PageID #: 2607




                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION


ROSIE L. DAVIS, et al.                                                       PLAINTIFFS


v.                                    No. 4:88-cv-4082


WILLIAM DALE FRANKS, et al.                                                   DEFENDANTS


 PLAINTIFFS’ BRIEF IN SUPPORT OF RESPONSE IN OPPOSITION TO
  THE ARKANSAS DEPARTMENT OF EDUCATION AND BOARD OF
             EDUCATION’S MOTION TO INTERVENE


I.     Introduction

       On April 7, 2023, the Arkansas Department of Education and the Board of Education

(“Arkansas”) filed a Motion to Intervene and Declare Hope School District Unitary. Doc. 211. On

April 12, 2023, the Court entered an order establishing April 26, 2023, as the deadline for any party

to respond to the motion to intervene only. Doc. 214. For the reasons stated below, the Court

should deny Arkansas’ motion to intervene.

II.    Argument

       A.      Requirements to intervene in a case or controversy

       Arkansas seeks to intervene in this case under Fed. R. Civ. Pro. 24(a)(2). This rule

provides:


       (a) – INTERVENTION OF RIGHT – On timely motion, the court must permit
       anyone to intervene who:
       …..


                                                 1
Case 4:88-cv-04082-SOH Document 217                Filed 04/26/23 Page 2 of 5 PageID #: 2608




       (2)     claims an interest relating to the property or transaction that is the subject
       of the action, and is so situated that disposing of the action may as a practical matter
       impair or impede the movant’s ability to protect its interest, unless existing parties
       adequately represent that interest.

Fed. R. Civ. Pro. 24(a)(2). Furthermore, Fed. R. Civ. Pro. 24(c) requires notice of

intervention upon the parties and the contemporaneous filing of a pleading “that sets out

the claim or defense for which intervention is sought.”

       According to Eighth Circuit precedent, there is an additional requirement for a

motion to intervene to be successful. The moving party must establish Article III standing

as explained below:

       In our circuit, a party seeking to intervene must establish Article III standing in
       addition to the requirements of Rule 24. Mausolf v. Babbitt, 85 F.3d 1295, 1300
       (8th Cir. 1996). To demonstrate standing, a plaintiff must clearly allege facts
       showing an injury in fact, which is an injury to a legally protected interest that is
       ‘concrete, particularized, and either actual or imminent.’ Curry v. Regents of the
       Univ. of Minn. 167 F.3d 420, 422 (8th Cir. 1999). The purpose of the imminence
       requirement is ‘to ensure that the allege injury is not too speculative . . . [and] that
       the injury is certainly impending.’ Lujan v. Defenders of Wildlife, 504 U.S. 555, 564
       n. 2, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992) (quotation omitted). The plaintiff
       must also show that the alleged injury is fairly traceable to the defendant’s conduct
       and that a favorable decision will likely redress the injury. Id. at 560-61, 112. S. Ct.
       2130.

United States, et al. v. Metropolitan St. Louis Sewer District, et al., 569 F.3d 829, 833-834 (8th

Cir. 2009).

       The Article III standing requirement applies even when an intervenor seeks to stand in the

shoes of a defendant rather than a plaintiff in a case. In Sierra Club v, Entergy Arkansas LLC,

503 F. Supp. 3d 821 (E.D. Ark. 2020), the court held that organizations attempting to intervene

on behalf of a defendant must establish Article III standing. In this case, the State of Arkansas,

by and through the Attorney General’s Consumer Utility Rate Advocacy Division (CURAD),

moved to intervene in a lawsuit brought by environmental organizations against the utility

                                                  2
Case 4:88-cv-04082-SOH Document 217                Filed 04/26/23 Page 3 of 5 PageID #: 2609




company Entergy to enforce the Clean Air Act (CAA). CURAD asserted an economic interest in

preventing unnecessary rate increases on behalf of Arkansas consumers. Sierra Club, 503 F.

Supp. 3d at 831-32. Before addressing the merits of CURAD’s request for intervention under

Fed. R. Civ. Pro. 24, the court examined the issue of whether CURAD had to establish Article III

standing. The answer was in the affirmative. Id. at 851-52. The district court further found that

(1) the asserted economic interest was too speculative, (2) there was a lack of traceability based

upon alleged economic injuries, and (3) the court could not redress these economic injuries. Id. at

854-60. Because CURAD failed to show that it had Article III standing, the court declined to

address whether it had met the requirements of Fed. R .Civ. Pro. 24. Id. at 862.

       B.      Arkansas failed to comply with Fed. R. Civ. Pro. 24(c)

       Arkansas’ motion to intervene should be denied because the State failed to comply

with Fed. R. Civ. Pro. 24(c). The motion to intervene was not accompanied by a pleading

setting out claims or defenses. Although Arkansas argues the basis for its right to intervene

in its supporting brief, a brief is not a pleading. See Fed. R. Civ. Pro. 7(a). This omission

is sufficient for the Court to deny the motion to intervene.

       C.      Arkansas cannot show that the State has Article III standing to intervene

       Arkansas cannot establish that it has Article III standing to intervene on behalf of

the defendant Hope School District (“Hope”) because the alleged injury-in-fact is too

speculative. According to Arkansas, its legally protectable interest flows from Ark. Code

Ann. § 6-11-105(a)(1), which grants the State of Arkansas “general supervision” over the

school districts within the state and the Rules Governing Standards for Accreditation of

Arkansas Public Schools and School Districts, Standard 3-A.10 (2020). The state law

giving the state “general supervision” over schools is not “particularized” enough to



                                                  3
Case 4:88-cv-04082-SOH Document 217                 Filed 04/26/23 Page 4 of 5 PageID #: 2610




establish an injury-from-fact in this case. The State’s reliance upon the accreditation

regulations is premature. According to the quarterly report dated December 15, 2022, Hope

anticipated that it would request partial unitary status in “early 2023.” Doc. 211-2, at 3.

Arkansas filed this motion on April 7, 2023. Arkansas alleges that Hope “declined” to

move for a declaration of unitary status. The letter dated December 15, 2022, directly

contradicts this allegation. Standard 3-A.12 gives Arkansas a legal avenue for enforcing its

alleged interest (i.e., placing HSD on probation) that it has yet to pursue. In addition,

Arkansas waited more than 33 years to attempt to intervene tend court supervision. The

first Consent Decree was entered in 1990. Doc. 38. The agency cannot rely upon United

States v. Junction City Sch. Dist., 14 F.4th 658, 666 (8th Cir. 2021) as a reason for its newly-

found urgency because this panel of the Eighth Circuit made a recommendation rather than

issuing a mandate to this Court. In sum, Arkansas has not alleged facts showing an injury

to a legally protected interest that is “concrete, particularized, and either actual or

imminent.” Curry, Id. Because the injury is too speculative, there is no need to address the

factors of traceability or redressability.

        D.      Arkansas fails to meet the requirements of Fed. R. Civ. Pro. 24(a)(2)

        Because Arkansas cannot establish Article III standing, the Court should not even

consider the merits of its arguments under Fed. R. Civ. Pro. 24(a)(2). Sierra Club, 503 F.

Supp. 3d at 862. Regardless, the agency cannot satisfy this rule for the same reasons

Arkansas fails to meet the requirements for Article III standing. The asserted interest in

this case is too generalized. In addition, Arkansas cannot show that it would have

inadequate representation because the agency submitted a quarterly report from Hope in

which Hope does not “decline” to pursue any kind of unitary status. If Hope does seek



                                                   4
Case 4:88-cv-04082-SOH Document 217              Filed 04/26/23 Page 5 of 5 PageID #: 2611




unitary status in the future, any basis for an argument of inadequate representation would

disappear entirely. Therefore, an order granting Arkansas’s motion to intervene would be

improvidently granted.

III.    Conclusion

        For the reasons stated above, the Court should deny Arkansas’ motion to intervene

in this case.

                                            Respectfully submitted,

                                            WALKER & CHILDS, PLLC
                                            1815 S. State Street
                                            Little Rock, Arkansas 72206
                                            501-287-8680 (Telephone)
                                            501-222-8872 (Facsimile)
                                            Email: schilds@walkerandchilds.com

                                              Shawn G. Childs
                                            Shawn G. Childs, Bar No. 99058


                                            ATTORNEY FOR PLAINTIFFS




                                                5
